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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                  HARRISON DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

VS.                           CRIMINAL NO. 3:24-30003-001-TLB

BRANDON NIEL TAYLOR                                                                   DEFENDANT


              MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

         Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3), Local Rule 72.1 ¶ XII, and

General Order No. 40, this matter was referred to the undersigned for the purposes of conducting a

waiver of indictment and plea to an information hearing pursuant to Rule 11 of the Federal Rules

of Criminal Procedure. Such a hearing was conducted on March 26, 2024, and, pursuant to a written

plea agreement, the Defendant, Brandon Niel Taylor, entered a plea of guilt to a one Count

Information charging him with theft of government funds in violation of 18 U.S.C. § 641.

         After conducting the hearing in the form and manner prescribed by Rule 11, the undersigned

finds:

         1.     The Defendant waived indictment (ECF No. 5) and was charged in an Information

filed by the United States on March 26, 2024. (ECF No. 6).

         2.     The Defendant, after consultation with his counsel, has knowingly and voluntarily

consented, both in writing in the plea agreement and on the record at the hearing, to the entry of his

guilty plea to the information before the undersigned, with Defendant’s plea of guilt subject to final

approval by United States District Judge Timothy L. Brooks.

         3.     The Defendant and the Government have entered into a written plea agreement which

has been disclosed in open court pursuant to Rule 11(c)(2), and the undersigned has directed that the

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plea agreement be filed. (ECF No. 11).

        4.      The Defendant is fully competent and capable of entering an informed plea; the

Defendant is aware of the nature of the charges, the applicable maximum penalties, and the

consequences of the plea; Defendant is fully satisfied with his counsel and has had sufficient time

to consult with counsel; and Defendant’s plea of guilt is a knowing and voluntary plea supported by

an independent basis in fact containing each of the essential elements of the offense.

        5.      The Defendant understands his constitutional and statutory rights and wishes to waive

these rights.

        6.      The parties were informed, both in writing in the plea agreement and on the record

at the hearing, of their right to file written objections within fourteen (14) days after receipt of this

Report and Recommendation. To expedite acceptance of the guilty plea, the parties waived, both

on the record and in writing in the plea agreement, their right to file objections.

        7.      Based on the foregoing, the undersigned recommends that Defendant’s guilty plea

be accepted. The written plea agreement will be subject to approval by the District Judge at

sentencing.

        DATED this 27th day of March 2024.



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                                                CHRISTY COMSTOCK
                                                UNITED STATES MAGISTRATE JUDGE




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